
Green, J.
delivered the opinion of the court.
This is a bill filed by the complainant to subject stock in the Nashville Bridge Company to the payment of his debt due from defendant.
It is not pretended that there is any fraud or trust in this case to furnish a ground of equity jurisdiction; and the simple question is, whether this court has power to cause stocks, credits and rights of action held by a debtor, without fraud, to be sold or converted into money, or transferred to the creditor in payment of his debt; we think it has not: and without entering into any reasoning on the subject, or review of authorities, we refer as conclusively settling the point to the case of Donovan vs. Finn, 1 Hop. Rep. 59.
Our act of assembly of 1833, ch. 11, makes ample provision upon this subject; but this bill being filed long before the passage of that apt, cannot be governed by it. Affirm the decree.
Decree affirmed.
